    Case 2:10-md-02179-CJB-DPC Document 174-3 Filed 09/07/10 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA




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                                           )
In re: Oil Spill by the Oil Rig DEEPWATER  )       MDL Docket No. 2179
HORIZON in the Gulf of Mexico on April 20, )
2010                                       )       Section: J
                                           )
This Document Relates to: No. 10-1497,     )       Judge Barbier
No. 10-1630                                )       Mag. Judge Shushan
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          Proposed Order Regarding Federal Defendants’ Motion to Sever Cases
                Brought Pursuant to the Administrative Procedure Act or,
               In the Alternative, to Assign Such Cases to Separate Tracks

       Upon consideration of Federal Defendants’ Motion to Sever Cases Brought Pursuant to

the Administrative Procedure Act or, In the Alternative, to Assign Such Cases to Separate

Tracks, and for good cause shown, it is hereby ordered:

       That cases No. 10-1497 and 10-1630 shall be removed from MDL Docket No. 2179, and
       docketed as separate actions;

       That any orders entered in MDL Docket No. 2179 shall be inapplicable to them; and

       That the parties in each action shall submit a proposed scheduling order within thirty (30)
       days of the date this Order is entered.

       SO ORDERED.


Dated:_____________                                         ________________________
                                                            Carl J. Barbier
                                                            United States District Judge
